EXHIBIT INDEX - Verified Motion to Expedite Discovery
Case: Davis v. New American Funding

Docket No.: l :25-CV-690

Filed By: Audury Petie Davis (Pro Se Plaintiff)

Filing Date: June 6, 2025

Exhibit                        Title/ Description            Relevance/ Notes
D                              Marc h 19, 2025 Email         Shows blocked
                               Bounce-Back                   communication on the eve
                                                             of rate-lock expiration
D2                             April 17, 2025 Preservation   Demonstrates ignored legal
                               Request Bounce-Back           notice and continued
                                                             obstruction
F2                             USS Verified Voicemail +      Contradicts Defendant's
                               Transcript                    position; confirms Plaintiffs
                                                             role and involvement
0                              FHA Document Handling         Screenshots/emails of
                               Irregu larities               unsecured document
                                                             transmissions (violating
                                                             HUD policy)
p                              Exhibit P: Risk Summary in    Summarizes internal risks,
                               Support of Verified Motion    exposure, and misconduct
                                                             timeline supporting
                                                             urgency
